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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: ____________________

  TARA DUNCAN,

           Plaintiff,

  v.

  PEARSON EDUCATION, INC.
  JOHN DOE CORPORATION, an unnamed
  corporate entity, and JOHN DOE, an
  unnamed individual in his official and
  individual capacity,

        Defendants.
  _____________________________________/

               DEFENDANT PEARSON EDUCATION, INC.’S NOTICE OF REMOVAL

           Defendant, PEARSON EDUCATION, INC., 1 (“Pearson” or “Defendant”), pursuant to

  28 U.S.C. §§ 1332, 1441, and 1446 gives notice that it is removing the action styled Tara Duncan

  v. Pearson Education, Inc, John Doe Corporation, and John Doe, Case No. 21-CA-012942,

  currently pending in the Circuit Court of the Fifteenth Judicial Circuit in and for Palm Beach

  County, Florida to the United States District Court for the Southern District of Florida. Removal

  is appropriate because there is diversity of citizenship between the Plaintiff, TARA DUNCAN

  (“Plaintiff”) and Defendants, Pearson, John Doe Corporation, and John Doe, and the amount in

  controversy exceeds $75,000.00.



  1
    Pearson Education, Inc. is not the proper party to this litigation. Rather, the allegations raised in
  the Amended Complaint relate to a different legal entity, NCS Pearson, Inc. Notwithstanding, NCS
  Pearson, Inc.’s state of incorporation is Minnesota and Pearson Education, Inc.’s state of
  incorporation is Delaware. Therefore, even if NCS Pearson, Inc. is later substituted in place of
  Pearson Education, Inc., there will still be diversity of citizenship with the Plaintiff, who is a citizen
  of Florida. Pearson Education, Inc. expressly reserves the right to bring a motion seeking to
  substitute in its place the proper party defendant.


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                                   THE STATE COURT ACTION

           1.      On or about November 22, 2021, Plaintiff commenced a civil action in the Circuit

  Court of the Fifteenth Judicial Circuit in and for Palm Beach County, Florida as Case No. 21-CA-

  012942 by filing its complaint. See Composite Exhibit “A.”

           2.      On December 23, 2021, Pearson was served with a copy of the summons and

  complaint. Id.

           3.      On January 12, 2022, Pearson filed its Partial Motion to Dismiss, or in the

  alternative, Motion to Strike Plaintiff’s Claim for Punitive Damages. Id.

           4.      On January 20, 2022 Pearson served its First Requests for Admission to Plaintiff

  solely targeted to the amount of damages sought by Plaintiff in its Complaint as the same was not

  discernable from Plaintiff’s allegations and solely for purposes of evaluating removal. Id.

           5.      On February 9, 2022, Plaintiff served its Responses to Pearson’s First Request for

  Admissions in which Plaintiff “Admitted” that “the damages [Plaintiff] seek from the claims

  asserted in [the] Complaint exceed the sum or value of $75,000.00, exclusive of interest and costs”

  and “Admitted” that its “Complaint does not specify the amount of damages [Plaintiff] seek[s]”

  other than the assertion that “damages [are] in excess of [the State Court’s] minimum jurisdictional

  amount exclusive of attorney’s fees and costs.” See Exhibit “B” (Responses to Requests for

  Admission.)

           6.      On February 18, 2022, Plaintiff filed an Amended Complaint (“Amended

  Complaint”). See Composite Exhibit “A.” The sole differences between the original Complaint

  and the Amended Complaint was the removal of Plaintiff’s request for punitive damages and

  demand for a jury trial.




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                  GROUNDS FOR REMOVAL – DIVERSITY JURISDICTION

           7.     Removal is proper pursuant to 28 U.S.C. § 1441 because this Court has jurisdiction

  based upon 28 U.S.C. § 1332(a) as there is complete diversity between the parties and the amount

  in controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs.

                                       Diversity of Citizenship

           8.     As set forth more in Plaintiff’s Amended Complaint, Plaintiff is a resident of Palm

  Beach County, Florida. See Composite Exhibit “A.”

           9.     Pearson Education, Inc. is a Delaware corporation with its principal place of

  business in New Jersey.

           10.    NCS Pearson, Inc. is a Minnesota corporation with its principal place of business

  in Minnesota.

           11.    Defendant John Doe Corporation is a citizen of New York.

           12.    The citizenship of Defendant John Doe is unknown but presumed by Pearson to be

  New York.

                                       Amount in Controversy

           13.    Pursuant to 28 U.S.C. §§ 1446(b)(3) and (c)(3)(A), Defendant promptly served its

  First Request for Admissions as an “other paper” to ascertain whether diversity jurisdiction exists.

           14.    Plaintiff’s Responses to Defendant’s First Request for Admissions admit that the

  matter in controversy exceeds the sum or value of $75,000.00 exclusive of interest and costs, and

  that its complaint does not specify the amount in controversy exceeds $75,000.00. As such,

  Defendant was first notified of the basis for removal on February 9, 2022, the date Plaintiff served

  her Responses to Defendant’s First Requests for Admissions. See Exhibit “B.”




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                            OTHER PROCEDURAL REQUIREMENTS

           15.     Venue for the purposes of removal is proper in the Southern District of Florida

  pursuant to 28 U.S.C. § 1441(a) because the Circuit Court of Palm Beach County, Florida is within

  the Southern District of Florida.

           16.     This notice of removal is filed within the thirty-day period from which it could first

  be ascertained that the case is one which is or has become removable set forth in 28 U.S.C. §

  1446(b)(3). Pearson received Plaintiff’s Responses to Pearson’s First Request for Admissions on

  February 9, 2022, the first paper in which it was ascertained that the amount in controversy

  requirement of 28 U.S.C. §1332(a) is satisfied, attached as Exhibit “B.”

           17.     Pearson has attached as Composite Exhibit “A” all process, pleadings, and orders

  served on it in the state court action, as required by 28 U.S.C. § 1446(a).

           18.     Written notice of the filing of this notice of removal will be promptly served upon

  Plaintiff, and a true copy of this notice of removal and the accompanying documents will be filed

  with the Clerk of the state court, as required by 28 U.S.C.§ 1446(d). A copy of the Notice to State

  Court of Removal, without attachments, is attached as Exhibit “C.”

           WHEREFORE, PEARSON EDUCATION, INC., respectfully requests that the action

  styled Tara Duncan v. Pearson Education, Inc, John Doe Corporation, and John Doe, Case No.

  21-CA-012942, currently pending in the Circuit Court of the Fifteenth Judicial Circuit in and for

  Palm Beach County, Florida be removed to this Court, and also requests that this Court accept

  jurisdiction of this action, place this action upon the docket of this Court for further proceedings,

  as if the action originally had been instituted in this Court, and make such further orders as are just

  and equitable.

           DATED: February 23, 2022.



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                                           Respectfully submitted,

                                           SAUL EWING ARNSTEIN & LEHR LLP
                                           Counsel for NCS Pearson, Inc.
                                           701 Brickell Avenure, Suite 1700
                                           Miami, Florida 33131
                                           Telephone: (305) 428-4500
                                           Facsimile: (305) 374-4744
                                           E-Mail:        steven.appelbaum@saul.com
                                                          Jessica.barrero@saul.com
                                                          Annie.rosenthal@saul.com

                                           By: _/s/   Steven M. Appelbaum
                                           Steven M. Appelbaum
                                           Florida Bar No. 71399
                                           Annie D. Rosenthal
                                           Florida Bar No. 1031335




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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed and served

  via the Southern District’s CM/ECF Filing System and served via e-mail on February 23, 2022

  upon: Jordan Sacks, Esq., Katranis, Wald & Garner, PLLC,        501 E Las Olas Blvd., Fort

  Lauderdale, FL 33301, service@kwgleagal.com, jordan@kwglegal.com, Stefano@kwglegal.com.

                                                           By:    _/s/ Steven M. Appelbaum
                                                                  Steven M. Appelbaum




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                         COMPOSITE
                           EXHIBIT A
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                                                                               eCaseView




     CASE NUMBER: 50-2021-CA-012942-XXXX-MB
     CASE STYLE: DUNCAN, TARA V PEARSON EDUCATION INC




        Search Criteria         Search Results              Case Info     Party Names    Dockets & Documents         Case Fees       Court Events


  View documents and order certified copies. See our eCaseView FAQ for step-by-step guidance and information about what documents are
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                       Docket        Effective              Description                     Notes
                       Number        Date


                       2             11/22/2021             CIVIL COVER SHEET


                       3             11/22/2021             COMPLAINT                       FOR DAMAGES & DEMAND FOR JURY TRIAL; F/B PLTF


                       4             11/22/2021             ~~CORRECT AND RESUBMIT          Jordan@kwglegal.com;Service@kwglegal.com;jlopez@kwglegal.com
                                                            SUMMONS NOT ISSUED 1. DID       1. DID NOT ISSUE; NEED DEFENDANT NAME; 2. CASE
                                                            NOT ISSUE; NEED DEFENDANT       MANAGEMENT STANDING ORDER MUST BE ATTACHED TO THE
                                                            NAME; 2. CASE MANAGEMENT        SUMMONS PER AO 3.107. GO TO WWW.15THCIRCUIT.COM/CIVIL-
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                                                            ORDERS TO DOWNLOAD A
                                                            COPY.


                       5             11/22/2021             NOTICE OF EMAIL                 FB PLTF
                                                            DESIGNATION


                       1             11/29/2021             DIVISION ASSIGNMENT             AB: Circuit Civil Central - AB (Civil)


                       6             11/29/2021             PAID $411.00 ON RECEIPT         $411.00 4261917 Fully Paid
                                                            4261917


                       7             12/14/2021             SUMMONS ISSUED                  Jordan@kwglegal.com;Service@kwglegal.com;jlopez@kwglegal.com
                                                                                            AS TO DFT PEARSON EDUCATION INC


                       8             12/29/2021             SERVICE RETURNED                PLAINTIFFS' NOTICE OF FILING VERIFIED RETURN OF SERVICE
                                                            (NUMBERED)                      SERVED PEARSON EDUCATION INC - 12/23/2021


                       9             01/12/2022             MOTION TO DISMISS               (PARTIAL) OR IN THE ALTERNATIVE MOTION TO STRIKE PLAINTIFFS
                                                                                            CLAIM FOR PUNITIVE DAMAGES FILED BY NCS PEARSON INC


                       10            01/13/2022             NOTICE OF APPEARANCE CIVIL      TO ADD COUNSEL AND DESIGNATION OF EMAIL ADDRESS F/B
                                                                                            ATTY ROSENTHAL OBO DFT PEARSON EDUCATION INC

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                                                                                    eCaseView


                        11                    01/20/2022    REQUEST FOR ADMISSIONS   DEFENDANT NCS PEARSON, INC.'S FIRST REQUESTS FOR
                                                                                     ADMISSION 1-5


                        12                    02/09/2022    RESPONSE TO REQ FOR      PLAINTIFF'S RESPONSES AND OBJECTIONS TO DEFENDANT'S FIRST
                                                            ADMISSION                REQUEST FOR ADMISSIONS

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                                                            IN THE CIRCUIT COURT OF THE FIFTEENTH
                                                            JUDICIAL CIRCUIT IN AND FOR PALM BEACH
                                                            COUNTY, FLORIDA

                                                            CASE NO. 21-CA-012942



            TARA DUNCAN,

                                  Plaintiff,
            v.

            PEARSON EDUCATION, INC.,
            JOHN DOE CORPORATION, an unnamed
            corporate entity, and JOHN DOE, an
            unnamed individual in his official and
            individual capacity,

                              Defendants.
            ____________________________________/


                 DEFENDANT NCS PEARSON, INC.’S FIRST REQUESTS FOR ADMISSION 1-5

                   Defendant NCS Pearson, Inc.1, pursuant to Florida Rule of Civil Procedure 1.370, requests

        that Plaintiff Tara Duncan, admit or deny the following:

                                                   DEFINITIONS

                   1.     “Plaintiff,” “Duncan,” “You,” and/or “Your,” shall mean, collectively, Plaintiff

        Tara Duncan and any of her current or former agents or other persons acting, or purporting to act,

        on behalf of Plaintiff.

                   2.     “Defendant” shall mean NCS Pearson, Inc., and any of its current or former

        officers, directors, agents, representatives, employees, partners, associates, personnel, successors,




        1
         Pearson Education, Inc. is not the proper party to this litigation. This Request for Admission is
        requested on behalf of NCS Pearson, Inc.
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   predecessors, divisions, related entities, subsidiaries, parent corporations, assignees, or other

   persons acting, or purporting to act, on behalf of Defendant.

          3.      The term “Action” shall mean the case entitled Tara Duncan v. Pearson Education,

   Inc., John Doe Corporation, and John Doe, Palm Beach County Circuit Court Case No.: 21-CA-

   012942. The term “Complaint” shall refer to the pleading of the same name filed in the above-

   mentioned Action.

          4.      Any and all terms used in these requests shall have the same meaning as those used

   in the Complaint filed in this Action.

                                            REQUESTS TO ADMIT

          1.      Admit that the damages You seek from the claims asserted in your Complaint in

   this Action exceed the sum or value of $75,000.00, exclusive of interest and costs.

          2.      Admit that the damages You seek from the claims asserted in your Complaint plus

   (or together with) the value of obtaining the injunctive relief You seek in this Action exceed the

   sum or value of $75,000.00, including attorneys’ fees accrued to date preparing and maintaining

   this Action.

          3.      Admit that the damages You seek from the claims asserted in your Complaint in

   this Action do not exceed $75,000.00, exclusive of interest and costs.

          4.      Admit that the damages You seek from the claims asserted in your Complaint plus

   (or together with) the value of obtaining the injunctive relief You seek in this Action do not exceed

   the sum or value of $75,000.00, including attorneys’ fees accrued to date preparing and

   maintaining this Action.

          5.      Admit that Your Complaint does not specify the amount of damages You seek.
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                                      Saul Ewing Arnstein & Lehr LLP
                                      Counsel for Pearson Education, Inc.
                                      701 Brickell Avenue, 17th Floor
                                      Miami, Florida 33131
                                      Telephone: 305-428-4500
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                                      E-Mail: steven.appelbaum@saul.com
                                              annie.rosenthal@saul.com
                                             jessica.barrero@saul.com
                                             bonnie.mcleod@saul.com
                                             MIA-ctdocs@saul.com

                                      By:   /s/ Annie D. Rosenthal
                                            Steven M. Appelbaum
                                            Florida Bar No. 71399
                                            Annie D. Rosenthal
                                            Florida Bar No. 1031335
Case 9:22-cv-80285-XXXX Document 1 Entered on FLSD Docket 02/23/2022 Page 21 of 35




                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to

   all counsel of record via the Florida E-Portal and via email to Jordan Sacks, Esq., Katranis Wald

   & Garner, PLLC, 501 E. Las Olas Blvd, Suite 200/300, Fort Lauderdale, Florida 33301 at

   service@kwglegal.com; stefano@kwlegal.comand jordan@kwglegal.com, this 20th day of

   January 2022.



                                               By: /s/ Annie D. Rosenthal
                                                     Annie D. Rosenthal
                                                     Florida Bar No. 1031335
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                        IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUITIN
                                  AND FOR PALM BEACH COUNTY, FLORIDA

         TARA DUNCAN,                                             CASE NO. 50-2021-CA-
                                                                  012942-XXXX-MB
                                   Plaintiff,
         v.

         PEARSON EDUCATION, INC.,
         JOHN DOE CORPORATION, an unnamed
         Corporate Entity, and JOHN DOE, an unnamed
         individual in his Official and individual capacity,

                                   Defendants.




                      PLAINTIFF’S FIRST AMENDED COMPLAINT FOR DAMAGES AND
                                       DEMAND FOR JURY TRIAL

                COMES NOW, Plaintiff, TARA DUNCAN, by and through the undersigned attorneys, and hereby

        sues   Defendants,    PEARSON           EDUCATION,     INC.,   (hereinafter   “PEARSON”);     JOHN DOE

        CORPORATION (hereinafter “JOHN DOE CORP”); and JOHN DOE (hereinafter “JOHN DOE”), an

        unnamed individual, in his Official and individual capacity, and in support thereof states the following:

                                                   GENERAL ALLEGATIONS

        1.      This is a claim for damages in excess of this Court's minimum jurisdictional amount exclusive of

                attorney's fees and costs.

        2.      At all times material hereto, Plaintiff, TARA DUNCAN, was and is a resident of the countyof this

                court, over the age of majority, and is otherwise sui juris.

        3.      At all times material hereto, Defendant, PEARSON EDUCATION, INC., was and is a Florida

                corporation, operating under the laws of the State of Florida, or in the alternative, had agents,

                employees or other representatives in Palm Beach County, Florida. That at alltimes material, this

                Defendant was a provider of education services engaged in digital on- line and educator

                professional development courses offering its services to teachers and
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         students worldwide.

   4.    At all times material hereto, Defendant, JOHN DOE CORP, was and is a Florida corporation,

         operating under the laws of the State of Florida, or in the alternative, had agents, employees or other

         representatives in Palm Beach County, Florida.

   5.    The identity of JOHN DOE CORP, will be revealed through discovery.

   6.    At all times material hereto, Defendant, JOHN DOE, was employed by PEARSON and/orJOHN

         DOE CORP and at the time of the subject incident, JOHN DOE was within the course and scope

         of his employment and/or under the direction of the Defendants,PEARSON and/or JOHN DOE

         CORP.

   7.    That at all times material, the Defendant, JOHN DOE /JOHN DOE CORP was contracted by

         PEARSON to assist in proctoring online remote examinations administered through PEARSON.

         (Contract is not in Plaintiff’s possession but rather in the possession of Defendants, PEARSON

         and/or JOHN DOE CORP.)

   8.    That at all times material a contract existed between Defendants, PEARSON and Co- Defendant

         JOHN DOE CORP to provide remote educational services.

   9.    JOHN DOE was an employee, agent, or servant of Defendant PEARSON and was acting within

         the course and scope of his employment, agency, or servitude.

   10.   JOHN DOE was an employee, agent, or servant of Defendant JOHN DOE CORP and wasacting

         within the course and scope of his employment, agency, or servitude.

   11.   On or about December 11, 2020, JOHN DOE was a remote examination proctor responsible for

         monitoring the NCBB remote examination taken by TARA DUNCAN.

   12.   On or about December 15, 2020, PEARSON became aware that during the remoteexamination

         JOHN DOE required TARA DUNCAN to bring her computer to the restroomwith her or otherwise

         fail her exam.

   13.   Venue for the subject action is proper in Palm Beach County, Florida as the subject incident
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         occurred there and all Defendants either reside and/or do business there.

   14.   On December 11, 2020, Plaintiff, TARA DUNCAN, sat for the NBCC National Counselor

         Examination, which was proctored remotely.

   15.   All communications related to the examination that were directed to Ms. DUNCAN statedthe exam

         would be proctored and administered by PEARSON. Ms. DUNCAN was reasonable in this

         assumption and had no basis to believe otherwise.

   16.   During the same time period, Ms. DUNCAN had an immediate urge to use the restroom.

         Ms. DUNCAN repeatedly inquired with the proctor, Defendant JOHN DOE, when there would be

         an opportunity for her to use the restroom.

   17.   Defendant JOHN DOE was made aware that Ms. DUNCAN was in physical and emotional

         discomfort from the need to relieve herself during the examination.

   18.   Defendant JOHN DOE was unable to provide Ms. DUNCAN with an answer or directionregarding

         when the next testing break would take place and was unwilling to inquire or seek an answer for

         Ms. DUNCAN while she continued to take the online exam in physicaldiscomfort.

   19.   After several inquiries by Ms. DUNCAN regarding the next restroom break, Defendant JOHN DOE

         told Ms. DUNCAN that she could take her computer to the restroom with herwhile she relieved

         herself or otherwise fail the exam.

   20.   JOHN DOE specified to Ms. DUNCAN that she must leave her camera and microphone on during

         this period, or fail the examination.

   21.   Defendant PEARSON was notified by Ms. DUNCAN of the incident on or about December 15,

         2020.

   22.   Defendant PEARSON acknowledged the inappropriate behavior and conduct of the proctor, JOHN

         DOE.
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                                        COUNT I
                     INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

   23.   Plaintiff, TARA DUNCAN, realleges and incorporates by reference paragraphs 1-22 as iffully set

         forth herein, and further alleges as follows:

   24.   During the examination on December 11, 2020, the proctor, JOHN DOE, intentionally directed Ms.

         DUNCAN to urinate in front of him or otherwise fail her exam.

   25.   Both JOHN DOE and PEARSON would know this clearly outrageous conduct to cause theintense

         emotional distress Ms. DUNCAN has since suffered because of these actions.

   26.   The intentional, reckless, and egregious conduct of PEARSON’s proctor, JOHN DOE caused Ms.

         DUNCAN to suffer emotional distress.

   27.   The conduct of the proctor, JOHN DOE, in telling Ms. DUNCAN she was required to bringher laptop

         to the bathroom while she urinated was outrageous, as to go beyond all bounds of decency and

         regarded as odious and utterly intolerable in a civilized community.

   28.   Ms. DUNCAN’s use of the restroom is of such a personal and permanent nature that knowingly

         and intentionally preventing someone from being able to use the restroom in privacy must be

         considered extreme and outrageous.

   29.   JOHN DOE’s conduct caused severe emotional distress to Ms. DUNCAN.

   30.   The emotional distress experienced by Ms. DUNCAN was severe.

   31.   The conduct caused, and continues to cause, severe emotional distress for Ms. DUNCAN.

   32.   Ms. DUNCAN has been damaged by this conduct in the form of severe emotional distress.

   33.   As a direct and proximate result of Defendant JOHN DOE’s intentional infliction of emotional

         distress, the Plaintiff has been required to retain the services of the undersignedattorneys, and the

         Plaintiff has become obligated to pay its counsel a reasonable fee for their services in bringing this

         action, along with necessary costs incurred.

   34.   The conduct of the proctor, JOHN DOE, in telling Ms. DUNCAN she was required to bringher laptop

         to the bathroom while she urinated was intentional or reckless and was
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            committed within the course and scope of his employment with PEARSON and JOHNDOE

            CORP.

   35.      As a direct, proximate and foreseeable result of the intentional infliction of emotional distress to

            Plaintiff by JOHN DOE, the Plaintiff, TARA DUNCAN, was injured, and claims the following

            items of damage:

                a. Past, present and future medical and related expenses;

                b. Past, present and future physical and mental pain and suffering;

                c. Past, present and future shame, humiliation, disability, discomfort, and the loss of the

                    capacity for the enjoyment of life;

                d. Past, present and future mental anguish, emotional distress, degradation,embarrassment

                    and loss of dignity.

         36. The injuries and damages suffered by the Plaintiff, TARA DUNCAN, are permanent and/or

            continuing in their nature and TARA DUNCAN has suffered from the same in the past and will

            continue to suffer from the same in the future.

                                                 COUNT II
                                           RESPONDEAT SUPERIOR

   37.      Plaintiff realleges and incorporates by reference paragraphs 1-36 as if fully set forth herein, and

            further alleges as follows:

   38.      Defendant PEARSON is vicariously liable for the actions of JOHN DOE under the doctrine of

            respondeat superior. PEARSON had implied and/or actual notice of JOHN DOE’s inappropriate

            and/or illegal conduct while acting as an examination proctor therebysubjecting Plaintiff, TARA

            DUNCAN to harmful and inappropriate conduct.

   39.      At all times material hereto, Defendant, PEARSON, owed a duty to protect students and customers,

            including the Plaintiff, TARA DUNCAN, from reasonably expected and/or foreseeable physical

            harm arising out of the activities of the ownership, management, andoperation of the Defendant’s

            business.
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   40.   Defendant, PEARSON, breached the above-described duty, by and through its agents, servants,

         and/or employees by one or more of the following acts of omission and/or commission:

             a. By failing to prevent, limit, and/or avoid the emotional harm upon the Plaintiff caused by

                 Defendant’s agent, servant and/or employee, JOHN DOE;

             b. By allowing, JOHN DOE, to act on behalf of the Defendant, PEARSON;

             c. Failing to supervise its agents, servants, and/or employees;

             d. By implementing and/or allowing policies and procedures that allowed and/or failed to

                 prevent its agents, servants, and/or employees from extreme and outrageous conduct

                 inflicted;

             e. Failing to properly train JOHN DOE, and/or other agents, servants, and/or employees of

                 Defendant;

             f. By failing to have policies and procedures in place for its agents, servants and employees

                 as to how to use reasonable and ordinary care in the furtherance of the Defendant’s business

                 interests.

   41.   PEARSON’S acceptance, approval and/or failure to stop the actions of its agent, servant, and/or

         employee on or about December 11, 2020, was deliberate, willful, and malicious with the intent to

         inflict emotional distress on the Plaintiff.

   42.   The Defendant, PEARSON, through its agents, servants, and employees acted with reckless

         disregard towards the Plaintiff in allowing such outrageous conduct.

   43.   The Defendant, PEARSON’s approval and/or failure to stop the outrageous conduct and

         harassment of which it was fully aware, by its agents, servants, and/or employees was so outrageous

         in character and so extreme in degree as to go beyond all possible bounds of decency and to be

         regarded as atrocious and utterly intolerable in a civilized community.

   44.   The Defendant, PEARSON, its agents, servants, and/or employees committed these acts of
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           abuse while in the course and scope of their employment and with its consent and actual

           knowledge.

   45.     Defendant PEARSON and Defendant JOHN DOE CORP are responsible for the intentional

           infliction of emotional distress committed by Defendant JOHN DOE upon the person of Ms.

           DUNCAN, in that the intentional infliction of emotional distress was intentional, was committed

           within the course and scope of the JOHN DOE’s employmentwith PEARSON and JOHN DOE

           CORP, such that the doctrine of respondeat superior applies to this action.

   46.     Due to the infliction of this tortious conduct upon Ms. DUNCAN, and the relationship between the

           perpetrator of this conduct and PEARSON, she is entitled to recovery from PEARSON.

   47.     The injuries and damages suffered by the Plaintiff, TARA DUNCAN, are permanent and/or

           continuing in their nature and TARA DUNCAN has suffered from the same in the past and will

           continue to suffer from the same in the future.

           WHEREFORE, Plaintiff demands judgment against Defendants for damages, including but not

   limited to compensatory damages, attorney fees and costs, and the Plaintiff demands trial by jury on all

   issues so triable and any such other relief as this Court deemsjust and proper.
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                               CERTIFICATE OF SERVICE



       WE HEREBY CERTIFY a true copy of the foregoing was filed via the Florida Courts E-Filing

Portal and furnished electronically pursuant to Rule 2.516, Fla. R. Jud. Admin. upon: Steven M.

Appelbaum, Esq. & Annie Rosenthal, Esq., Attorneys for the Defendant, at Saul Ewing Arnstein &

Lehr LLP ; 701 Brickell Avenue, 17th Floor Miami, Florida 33131, annie.rosenthal@saul.com;

bonnie.mcleod@saul.com; MIA-ctdocs@saul.com; on February 18, 2022.



                                                 Respectfully submitted,

                                                 KATRANIS, WALD & GARNER, PLLC
                                                 501 E Las Olas Blvd., Suite 200/300
                                                 Fort Lauderdale, Florida 33301 Tel.:
                                                 (754) 231-8107
                                                 E-Service Email: service@kwglegal.com
                                                 Primary Email: Jordan@kwglegal.com
                                                 Secondary Email: Stefano@kwglegal.com

                                                 By: /s/ Jordan Sacks, Esq.
                                                          Jordan Sacks, Esq.
                                                          Florida Bar No.: 122521
                                                         Stefano Mittone, Esq.
                                                        Florida Bar No.: 118344
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                            EXHIBIT B
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                                                                     IN THE CIRCUIT COURT OF THE 15th
                                                                     JUDICIAL CIRCUIT IN AND FOR PALM
                                                                     BEACH COUNTY, FLORIDA

                                                                     GENERAL JURISDICTION DIVISION
                                                                     CASE NO.:50-2021-CA-012942-XXXX-MB
         TARA DUNCAN,
              Plaintiff,
         vs.

         PEARSON EDUCATION, INC.,
                Defendant.
         _______________________________________/

          PLAINTIFF’S RESPONSES AND OBJECTIONS TO DEFENDANT’S FIRST REQUEST FOR
                                        ADMISSIONS
                Pursuant to Fla. R. Civ. P. 1.370, Plaintiff, TARA DUNCAN, responds and object to the First
        Request for Admissions of Defendant, PEARSON EDUCATION, INC., as follows:
                                                GENERAL OBJECTION
                Plaintiff objects to the definitions and instructions contained in Defendant’s First Request for
        Admissions to Plaintiff to the extent they purport to impose obligations beyond those imposed by the
        Florida Rules of Civil Procedure.
                         RESPONSES AND SPECIFIC OBJECTIONS TO PRODUCTION


            1. Admit that the damages You seek from the claims asserted in your Complaint in
               this Action exceed the sum or value of $75,000.00, exclusive of interest and costs.
                RESPONSE: Admit.
            2. Admit that the damages You seek from the claims asserted in your Complaint plus
               (or together with) the value of obtaining the injunctive relief You seek in this Action
               exceed the sum or value of $75,000.00, including attorneys’ fees accrued to date
               preparing and maintaining this Action.

                RESPONSE: Admit.
            3. Admit that the damages You seek from the claims asserted in your Complaint in
               this Action do not exceed $75,000.00, exclusive of interest and costs.
                RESPONSE: Denied.
            4. Admit that the damages You seek from the claims asserted in your Complaint plus
               (or together with) the value of obtaining the injunctive relief You seek in this Action do
               not exceed the sum or value of $75,000.00, including attorneys’ fees accrued to date
               preparing and maintaining this Action.

                RESPONSE: Denied.


                                                 Katranis, Wald & Garner, PLLC
                                  501 E. Las Olas Blvd Suite 200/300, Fort Lauderdale, FL 33301
                                      Telephone: (754) 231-8107 | Service@KWGLegal.com
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      5.   Admit that Your Complaint does not specify the amount of damages You seek.
           RESPONSE: Admit.




                                        CERTIFICATE OF SERVICE
   WE HEREBY CERTIFY a true copy of the foregoing was filed via the Florida Courts E-Filing Portal
   and furnished electronically pursuant to Rule 2.516, Fla. R. Jud. Admin. upon: Steven M. Appelbaum,
   Esq. & Annie Rosenthal, Esq., Attorneys for the Defendant, at Saul Ewing Arnstein & Lehr LLP ; 701
   Brickell Avenue, 17th Floor Miami, Florida 33131, annie.rosenthal@saul.com;
   bonnie.mcleod@saul.com; MIA-ctdocs@saul.com; on February 09, 2022.




                                                      Respectfully submitted,
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                                                      By: /s/ Jordan Sacks, Esquire
                                                              Jordan Sacks, Esq.
                                                              Florida Bar No.: 122521
                                                              Stefano Mittone, Esq.
                                                              Florida Bar No.: 118344




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                          EXHIBIT C
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                                                   IN THE CIRCUIT COURT OF THE
                                                   FIFTEENTH JUDICIAL CIRCUIT IN AND
                                                   FOR PALM BEACH COUNTY, FLORIDA

                                                   CASE NO. 21-CA-012942

   TARA DUNCAN,

            Plaintiff,

   v.

   PEARSON EDUCATION, INC.
   JOHN DOE CORPORATION, an unnamed
   corporate entity, and JOHN DOE, an
   unnamed individual in his official and
   individual capacity,

         Defendants.
   _____________________________________/

                          NOTICE OF FILING NOTICE OF REMOVAL

            PLEASE TAKE NOTICE that on February 23, 2022, Defendant PEARSON

   EDUCATION, INC., filed with the Clerk of the 15th Judicial Circuit in and for Palm Beach

   County, Florida, a true and correct copy of its Notice of Removal, which was filed on February

   22, 2022 with the United States District Court for the Southern District of Florida. A copy of the

   Notice of Removal is attached as Exhibit “A.”

   DATED: February 23, 2022.

                                                      SAUL EWING ARNSTEIN & LEHR LLP
                                                      Counsel for NCS Pearson, Inc.
                                                      701 Brickell Avenure, Suite 1700
                                                      Miami, Florida 33131
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                                                      By: _/s/    Steven M. Appelbaum



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                                                    Steven M. Appelbaum
                                                    Florida Bar No. 71399
                                                    Annie D. Rosenthal
                                                    Florida Bar No. 1031335


                                  CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing was filed and served

   via the Southern District’s CM/ECF Filing System and served via e-mail on February 23, 2022

   upon: Jordan Sacks, Esq., Katranis, Wald & Garner, PLLC,        501 E Las Olas Blvd., Fort

   Lauderdale, FL 33301, service@kwgleagal.com, jordan@kwglegal.com, Stefano@kwglegal.com.

                                                            By:    _/s/ Steven M. Appelbaum
                                                                   Steven M. Appelbaum




   39660574.3
